                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                      v.                        )
                                                )              3:12-CR-239
                                                )
STEVEN JONES (7)                      )
___________________________________ )


                                SCHEDULING ORDER

       THIS MATTER is before the Court sua sponte. In advance of the March 10,

2014 trial date for Defendant Jones, the Court orders that:

       Motions to compel discovery, motions to suppress, motions under Rules 7, 8, 12,

13, 14, 16, 18, and 41 of the Federal Rules of Criminal Procedure, and motions in limine

shall be filed no later than February 14, 2014.1 Responses to those motions shall be filed

no later than February 21, 2014. Reply briefs shall be filed no later than February 27,

2014. Proposed jury instructions shall be filed no later than February 28, 2014.

SO ORDERED.

                                 Signed: January 15, 2014




1
  The Court notes that motions in limine have already been filed in this matter pursuant to
the Court’s previous scheduling order in this case (Doc. Nos. 427 & 428). The parties are
free to rely on the existing motions or withdraw them and file new motions if they
choose.


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